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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK
____________________________________

ARMANDO CARDENAS, JOSE F.                                        18-CV-881-EAW-MJR
CARDENAS, JUANITA SENTENO,                                       DECISION AND ORDER
VERONICA SIMMONS BAILEY, ISAIAH
ALEXANDER, KATHY ALEXANDER, and
SHONDA TATE, on behalf of themselves
and all others similarly situated,

                                Plaintiffs,

        -v-

A.J. PIEDIMONTE AGRICULTURAL
DEVELOPMENT, LLC, JAMES J.
PIEDIMONTE & SONS, INC., JAMES J.
PIEDIMONTE & SONS, LLC, MAGC, INC.,
ANTHONY JOSEPH PIEDIMONTE,
in his individual capacity, and SCOTT
JAMES BENNETT, in his individual capacity,

                      Defendants.
____________________________________

        This case has been referred to the undersigned by the Hon. Elizabeth A. Wolford

for all pre-trial matters excluding dispositive motions. (Dkt. No. 29). Presently before the

Court is plaintiffs’ motion for conditional certification of a Fair Labor Standards Act

(“FLSA”) collective action. (Dkt. No. 28). The Court heard oral argument on the motion

on November 19, 2018. (Dkt. No. 46). For the following reasons, plaintiffs’ motion is

granted as set forth herein. 1

                                           BACKGROUND

        Plaintiffs Armando Cardenas, Jose F. Cardenas, Juanita Senteno, Veronica

Simmons Bailey, Isaiah Alexander, Kathy Alexander, and Shonda Tate (collectively,


1     A motion for conditional certification of an FLSA collective action is a non-dispositive motion. See
Summa v. Hofstra Univ., 715 F. Supp. 2d 378, 383-84 (E.D.N.Y. 2010).
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“plaintiffs”) bring this action on behalf of themselves and all other similarly situated

individuals seeking relief for alleged willful violations of the FLSA overtime compensation

requirements by defendants A.J. Piedimonte Agricultural Development, LLC, James J.

Piedimonte & Sons, Inc., James J. Piedimonte & Sons, LLC, MAGC, Inc., Anthony Joseph

Piedimonte, and Scott James Bennett (collectively, “defendants”).                          (Dkt. No. 1

(Complaint)). 2 Since the filing of the complaint, several other individuals have “opted in”

to the lawsuit by filing “consent to sue” forms with the Clerk of Court.

        Plaintiffs allege that defendants comprise a large-scale agricultural and produce

packaging, storage, and distribution business operating under common ownership and

control. (Id. ¶¶1, 18-35, 42-45). Defendants hired plaintiffs and other individuals to work

as hourly employees performing physical labor at defendants’ worksites in Holley, New

York.    (Id. ¶¶42-46). Plaintiffs performed a range of physical labor for defendants,

including planting, weeding, picking, chopping, sorting, cleaning, and driving. (Id. ¶¶45-

46, 54, 60, 64-65). Plaintiffs also regularly participated in the sorting, cleaning, and

packing of produce brought to defendants’ property from other sources. (Id. ¶¶44, 65).

The gravamen of plaintiffs’ FLSA claim is that defendants maintained a uniform policy

and practice of failing to pay their hourly employees a premium rate for each hour over

forty that they worked in a week — i.e., overtime compensation. (Id. ¶¶74-76, 101).

Defendants dispute that plaintiffs are entitled to overtime compensation, arguing that

plaintiffs are exempt from the overtime provisions of the FLSA because they are

“agriculture employees” within the meaning of the Act. (See Dkt. No. 43-1 (Piedimonte


2      Plaintiffs also seek relief on behalf of themselves and all other similarly situated individuals for
defendants’ alleged willful violations of New York State Labor Law, the Migrant and Seasonal Agricultural
Worker Protection Act, the regulations of the federal H-2A guest worker program, and breach of contract.
(See Dkt. No. 1 (Complaint)).

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Dec.) ¶5). Plaintiffs contend that they are not agriculture employees because some of

the work they performed for defendants — namely, cleaning, sorting, and packing

produce received from other sources — is outside the definition of “agriculture” under the

FLSA. (Dkt. No. 1 (Complaint) ¶65); see Centeno-Bernuy v. Becker Farms, 564 F. Supp.

2d 166, 178 (W.D.N.Y. 2008) (finding activities regarding produce purchased from other

sources to be outside the scope of the agriculture exemption).

       Shortly after commencing this action, plaintiffs filed the instant motion for

conditional certification of an FLSA collective action, which, if granted, will allow them to

obtain contact information regarding potential opt-in plaintiffs from defendants so that they

may notify the potential opt-in plaintiffs of the pendency of this lawsuit and their

opportunity to join in as represented plaintiffs. (Dkt. No. 28). Plaintiffs’ proposed opt-in

class consists of “[a]ll current and former employees who have worked for [d]efendants

within the past three years of the filing of the [c]omplaint and the date of final judgment in

this matter and who performed physical labor for more than 40 hours in any single work

week and were paid on an hourly basis but did not receive overtime compensation.” (Dkt.

No. 28-1 (Pltfs.’ Memo. of Law) at 1). Defendants oppose plaintiffs’ motion for conditional

certification, but in the event conditional certification is granted, they ask the Court to

make certain modifications to plaintiffs’ proposal regarding the content and manner of

notice to the potential opt-in plaintiff class. (See Dkt. No. 43 (Defts.’ Memo. of Law)).

                                       DISCUSSION

       I.     Conditional Certification

       Under the FLSA, “no employer shall employ any of his employees . . . for a

workweek longer than forty hours unless such employee receives compensation for his



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employment in excess of the hours above specified at a rate not less than one and one-

half times the regular rate at which he is employed.” 29 U.S.C. §207(a)(1). The FLSA

creates a cause of action against employers who violate the overtime requirement, and

affected employees may bring suit against an employer on behalf of “themselves and

other employees similarly situated.” Id. §216(b). “Unlike a representative action under

Rule 23 of the Federal Rules of Civil Procedure, where all persons in the defined class

are bound by the case outcome unless they affirmatively ‘opt out,’ an employee does not

become a party to an FLSA collective action unless he or she affirmatively ‘opts in’ by

filing written consent with the court.” Gordon v. Kaleida Health, No. 08-CV-378S, 2009

WL 3334784, at *3 (W.D.N.Y. Oct. 14, 2009).

       The Court has the discretion to facilitate notice to potential plaintiffs of the

pendency of an FLSA lawsuit and their opportunity to opt-in as represented plaintiffs. See

Hoffmann-La Roche Inc. v. Sperling, 493 U.S. 165, 169-70 (1989); Myers v. Hertz Corp.,

624 F.3d 537, 554 (2d Cir. 2010). “This is often referred to as certification, although as

the Second Circuit Court of Appeals observed in Myers, it is not ‘certification’ in the

traditional class action sense and ‘nothing in the text of the statute prevents plaintiffs from

opting in to the action by filing consents with the district court, even when the notice . . .

has not been sent, so long as such plaintiffs are ‘similarly situated’ to the named individual

plaintiff who brought the action.’” Acevedo v. WorkFit Med. LLC, No. 14-CV-06221 EAW,

2014 WL 4659366, at *2 (W.D.N.Y. Sept. 16, 2014) (alteration in original) (quoting Myers,

624 F.3d at 555 n.10). Courts follow a two-step process to determine whether a lawsuit

should proceed as an FLSA collective action:




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              The first step involves the court making an initial determination
              to send notice to potential opt-in plaintiffs who may be similarly
              situated to the named plaintiffs with respect to whether a
              FLSA violation has occurred. The court may send this notice
              after plaintiffs make a modest factual showing that they and
              potential opt-in plaintiffs together were victims of a common
              policy or plan that violated the law. . . . At the second stage,
              the district court will, on a fuller record, determine whether a
              so-called collective action may go forward by determining
              whether the plaintiffs who have opted in are in fact similarly
              situated to the named plaintiffs. The action may be de-
              certified if the record reveals that they are not, and the opt-in
              plaintiffs’ claims may be dismissed without prejudice.

Myers, 624 F.3d at 555 (internal quotation marks, citations, and alterations omitted). “The

first of these steps is typically referred to as ‘conditional certification.’” Acevedo, 2014

WL 4659366, at *2 (quoting Winfield v. Citibank, N.A., 843 F. Supp. 2d 397, 402 (S.D.N.Y.

2012)). “Plaintiffs’ burden on a conditional certification motion is ‘minimal, especially

since the determination that potential plaintiffs are similarly situated is merely a

preliminary one.’” Id. at *4 (quoting Gjurovich v. Emmanuel’s Marketplace, Inc., 282

F. Supp. 2d 101, 104 (S.D.N.Y. 2003)). “[T]he court does not resolve factual disputes,

decide substantive issues going to the ultimate merits, or make credibility determinations[,

and a]ccordingly, an FLSA collective action may be conditionally certified upon even a

single plaintiff’s affidavit.” Robbins v. Blazin Wings, Inc., No. 15-CV-6340 CJS, 2016 WL

1068201, at *6 (W.D.N.Y. Mar. 18, 2016) (second alteration in original) (quoting Escobar

v. Motorino E. Vill. Inc., No. 14 CIV. 6760(KPF), 2015 WL 4726871, at *2 (S.D.N.Y. Aug.

10, 2015)).   Given this “fairly lenient” standard, conditional certification is “typically

grant[ed].” Chhab v. Darden Rests., Inc., No. 11 Civ. 8345(NRB), 2013 WL 5308004, at

*9 (S.D.N.Y. Sept. 20, 2013) (quoting Malloy v. Richard Fleischman & Assocs. Inc., No.

09 Civ. 322(CM), 2009 WL 1585979, at *2 (S.D.N.Y. June 3, 2009)).



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       Here, plaintiffs have submitted sworn declarations and pay stubs from two plaintiffs

and one opt-in plaintiff stating that they and other employees worked more than forty

hours per week for defendants without receiving overtime compensation. (Dkt. No. 28-5

(Colson Dec.); Dkt. No. 28-6 (Armando Cardenas Dec.); Dkt No. 28-7 (Senteno Dec.)).

The opt-in plaintiff, April Colson, further states that defendant Anthony James Piedimonte

told her that defendants were not required to pay overtime compensation because their

operation consisted of “farm work,” a statement which appears to be in reference to the

agriculture exemption to the FLSA’s overtime requirements. (Dkt. No. 28-5 (Colson Dec.)

¶16). The foregoing evidence is more than adequate to meet plaintiffs’ minimal burden

of showing that they were victims of a common policy or plan that violated the FLSA.

Although defendants have come forward with evidence disputing plaintiffs’ contention that

defendants did not pay their employees any required overtime compensation, the Court

is not at liberty to weigh defendants’ contradictory evidence at this stage of the

proceeding.     See Acevedo, 2014 WL 4659366, at *6 (“Defendants’ contradictory

evidence, while certainly relevant to the merits of Plaintiffs’ underlying claims, is not

sufficient to defeat a conditional certification motion.”).

       Defendants raise several arguments in opposition to plaintiffs’ motion for

conditional certification, none of which are persuasive. Defendants first argue that they

were not required to pay plaintiffs overtime compensation because plaintiffs are

agriculture employees who are exempt from the overtime requirements of the FLSA. See

29 U.S.C. §213(b)(12). However, whether or not the agriculture exemption applies does

not come into play until the second stage of the certification inquiry. Gjurovich, 282

F. Supp. 2d at 105 (“Whether the positions the Plaintiff held were exempt is not an issue



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when deciding whether to authorize notice in an FLSA action.”); Roebuck v. Hudson

Valley Farms, Inc., 239 F. Supp. 2d 234, 239 (N.D.N.Y. 2002) (declining to determine at

the conditional certification stage whether plaintiffs performed agriculture work). In any

event, even if the Court were to consider the agriculture exemption at this stage of the

proceeding, plaintiffs have come forward with evidence that the exemption is uniformly

inapplicable to plaintiffs and potential opt-in plaintiffs because some of the work they

performed for defendants — in particular, work related to produce purchased from other

sources — is outside the definition of “agriculture” under the FLSA. (See Dkt. No. 28-5

(Colson Dec.) ¶¶12-15, 18)); see Centeno-Bernuy, 564 F. Supp. 2d at 178 (finding

activities regarding produce purchased from other sources to be outside the scope of the

agriculture exemption). While defendants submit evidence to the contrary, the Court is

not at liberty to consider defendants’ contradictory evidence on this motion.         See

Acevedo, 2014 WL 4659366, at *6.

       Defendants also argue that plaintiffs’ accusations regarding defendants’ alleged

policy of not paying overtime compensation are vague and unsupported by any facts.

This argument is without merit because, as discussed above, plaintiffs have come forward

with evidence indicating that they and other employees worked more than forty hours a

week for defendants without receiving overtime compensation. Plaintiffs were not, as

defendants argue, required to submit proof of a formal policy reflecting defendants’

alleged failure to pay overtime compensation. See Chhab, 2013 WL 5308004, at *10

(“[P]laintiffs need not show the existence of a facially unlawful formal policy in order to

meet the burden required of them at the conditional certification stage.”).




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       Defendants also argue that plaintiffs and potential opt-in plaintiffs are not “similarly

situated” because their alleged job duties and functions, and the time they devoted to

each duty and function, are not consistent, and the Court would have to conduct

numerous “mini-trials” in order to adjudicate any alleged FLSA violation. (Dkt. No. 43

(Defts.’ Memo. of Law) at 8-10). Contrary to defendants’ argument, the similarly-situated

analysis does not require plaintiffs to show at the conditional certification stage that they

performed the same exact job duties. See Gordon, 2009 WL 3334784, at *7-8 (rejecting

similar “mini-trials” argument and noting that existence of individual claims and defenses

does not preclude conditional certification); Acevedo, 2014 WL 4659366, at *7 (noting

that defendants’ argument regarding individualized inquiries “is better considered at the

second stage of the FLSA certification inquiry on a fuller factual record”).

       Relatedly, defendants argue that conditional certification should be denied

because the proposed opt-in class is “unmanageable” in that “[t]he determination of

liability would necessarily require individualized analyses, turning on testimony as to what

each putative class member did on a day-to-day basis at the site where he or she worked,

and to what percentage of time.” (Dkt. No. 43 (Defts.’ Memo. of Law) at 11). However,

the weight of authority within the Second Circuit provides that inquiries into tasks

performed by individual class members, including the percentage of time spent on each

particular task, is not relevant on a motion for conditional certification. See, e.g., Chhab,

2013 WL 5308004, at *12.

       Finally, defendants argue that conditional certification must be denied if the

complaint fails to state a plausible claim for relief under the FLSA. This argument has no

relevance here because defendants do not contend that plaintiffs’ complaint fails to state



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a plausible FLSA claim, nor did defendants move to dismiss the complaint for failure to

state a claim under Rule 12(b)(6) of the Federal Rules of Civil Procedure.

        Accordingly, for these reasons, plaintiffs’ motion for conditional certification is

granted. The potential opt-in plaintiff class shall consist of “[a]ll current and former

employees who have worked for [d]efendants within the past three years of the filing of

the [c]omplaint and the date of final judgment in this matter and who performed physical

labor for more than 40 hours in any single work week and were paid on an hourly basis

but did not receive overtime compensation.” (Dkt. No. 28-1 (Pltfs.’ Memo. of Law) at 1).

As discussed below, plaintiffs may notify the potential opt-in plaintiffs of the pendency of

this lawsuit and their opportunity to opt-in as represented plaintiffs. See Gordon, 2009

WL 3334784, at *8 (“A court has the discretion to authorize notification to ‘similarly

situated’ potential plaintiffs . . . .”).

        II.     Content of Notice

        Plaintiffs have submitted a proposed notice, consent-to-sue form, and text-

message notice to be sent to potential opt-in class members. (Dkt. No. 28-2 (notice); Dkt.

No. 28-3 (consent-to-sue form); Dkt. No. 28-4 (text message notice)).           Defendants

suggest five revisions to the notice form (Dkt. No. 43 (Defts.’ Memo. of Law) at 12-13),

which the Court will discuss seriatim.

        First, defendants argue that the title on plaintiffs’ proposed notice is “overbroad,

imprecise and unnecessary.” (Id. at 13). Having reviewed the title, the Court finds that it

adequately summarizes the nature and purpose of the notice form. Thus, defendants’

first suggestion is not accepted.




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       Second, defendants suggest advising potential opt-in plaintiffs that they may be

required to participate in written discovery and testify at a deposition and/or trial before a

jury. The Court agrees with this suggestion. See Robbins, 2016 WL 1068201, at *7

(allowing notice form to inform potential opt-in plaintiffs that they “may be required to

participate in pre-trial discovery, such as depositions, or to testify at a trial or hearing”).

       Third, defendants suggest advising potential opt-in plaintiffs that defendants will

seek costs and attorneys’ fees in the event plaintiffs receive an unfavorable decision in

this lawsuit. The Court agrees with this proposal in part — the notice form may be

modified to reflect that opt-in plaintiffs may be required to pay a pro-rata share of

defendants’ costs in defending the lawsuit in the event plaintiffs lose the lawsuit. See id.

(allowing notice form to advise potential opt-in plaintiffs that they “may be required to pay

a pro-rata share of Defendants’ costs in defending the lawsuit” in the event they “lose the

lawsuit”).

       Fourth, defendants suggest adding defense counsel’s contact information to the

notice form and inviting potential opt-in plaintiffs to contact defense counsel with any

questions they might have about the lawsuit.           This suggestion is rejected because

defense counsel should not be privy to sensitive questions or information that potential

opt-in plaintiffs may have regarding the lawsuit. See Chhab, 2013 WL 5308004, at *16.

       Fifth, defendants propose that potential plaintiffs who wish to join the action return

their consent forms not to plaintiffs’ counsel but directly to the Clerk of Court. Defendants

withdrew this suggestion at oral argument.

       Plaintiffs’ counsel shall revise the proposed notice, consent-to-sue form, and text-

message notice to reflect these revisions and any other revisions necessitated by the



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terms of this Decision and Order. Plaintiffs’ counsel shall provide the revised forms to

defense counsel, who shall then have seven days to file with the Court any objections

relating to the revisions. Based on plaintiffs’ representation that a “substantial number of

[d]efendants’ former employees’ primary language is Spanish” (Dkt. No. 28-1 (Pltfs.’

Memo. of Law) at 11), the notice, consent-to-sue form, and text-message notice may be

translated into Spanish.

       III.   Manner of Notice

       In order to facilitate notice to potential opt-in plaintiffs, plaintiffs ask the Court to

order defendants to provide plaintiffs’ counsel with certain information in defendants’

possession for all potential opt-in plaintiffs, specifically: names, addresses, telephone

numbers, e-mail addresses, work locations, and dates of employment. (Dkt. No. 28-1

(Pltfs.’ Memo. of Law) at 1, 10). Plaintiffs further request that their counsel be permitted

to send the notice, consent-to-sue form, and text-message notice to these individuals via

first-class mail, text message, and e-mail; that defendants be required to post the notice

and consent form at its worksites in the same areas where employers are required to post

FLSA notices; and that defendants include the notice and consent form with payment of

wages to their current employees. (Id. at 11-13). Defendants oppose plaintiffs’ proposed

method of notice, suggesting in the alternative that defendants provide information

regarding potential opt-in plaintiff class members to a “disinterested third party” who will

then distribute the notice and consent form via first-class mail, only. (Dkt. No. 43 (Defts.’

Memo. of Law) at 13-14).

       In light of plaintiffs’ representations that members of the potential opt-in plaintiff

class are migrant and seasonal agricultural workers, that there is high employee turnover,



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and that several class members have already changed addresses (Dkt. No. 28-1 (Pltfs.’

Memo. of Law) at 11), plaintiffs have justified their need for potential opt-in plaintiffs’

addresses, telephone numbers, and e-mail addresses, and plaintiffs may use this

information to send the notice, consent form, and text-message notice to potential opt-in

plaintiffs via first-class mail, text message, and e-mail. Bhumithanarn v. 22 Noodle Mkt.

Corp., No. 14-cv-2625 (RJS), 2015 WL 4240985, at *5 (S.D.N.Y. July 13, 2015)

(authorizing text-message notice “given the high turnover characteristic” of defendants’

industry); Acevedo, 2014 WL 4659366, at *12 (authorizing disclosure of potential opt-in

plaintiffs’ telephone numbers and e-mail addresses). Posting the notice and consent form

in defendants’ workplace is appropriate as well given that posting is routinely granted in

FLSA cases and has not been shown by defendants to be unduly burdensome. See

Hinckley v. Seagate Hosp. Grp., LLC, No. 16-CV-6118 CJS, 2016 WL 6524314, at *16

(W.D.N.Y. Nov. 2, 2016). The Court declines, however, to require defendants to include

the notice and consent form along with payment of wages to their current employees, as

doing so is largely duplicative of posting notice in the workplace. Finally, plaintiffs’

counsel, not a third-party administrator, should be responsible for sending the notice and

consent form via first-class mail, text message, and e-mail. Employing a third-party

administrator to send these documents would simply result in undue cost and delay.

Plaintiffs’ counsel may also send a reasonable number of reminder post cards, text

messages, and e-mails to any potential opt-in plaintiffs who have not responded within

thirty days after the initial mailing, texting, and e-mailing of the notice.

       In order to facilitate plaintiffs’ counsel in sending notice to potential opt-in plaintiffs,

defendants are to produce the following information within their possession to plaintiffs’



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counsel within ten days of entry of this Decision and Order: names, addresses, telephone

numbers, e-mail addresses, work locations, and dates of employment for all potential opt-

in plaintiffs who worked for defendants from August 8, 2015 to the present. Although

plaintiffs request information dating back to August 8, 2012, a six-year timeframe is not

warranted because the potential FLSA opt-in plaintiff class consists of employees who

worked for defendants within only three years of the filing of the complaint. Potential opt-

in plaintiffs who wish to join this action shall return their consent forms to plaintiffs’

counsel, who shall have no more than six months from the date notice is first distributed

to file the forms with the Clerk of Court. The thirty-day opt-in deadline proposed by

defendants is too short given that it may take plaintiffs’ counsel an extended amount of

time to track down members of the potential opt-in class, many of whom are migrant and

seasonal agricultural workers. See, e.g., Recinos-Recinos v. Express Forestry, Inc., 233

F.R.D. 472, 478-79, 482-83 (E.D. La. 2006) (granting 180-day opt-in period in case

involving migrant workers from Mexico and Guatemala); Roebuck, 239 F. Supp. 2d. at

240-41 (granting nine-month opt-in period in case involving migrant workers). Plaintiffs

are directed to notify the Court in writing of the opt-in deadline date.

                                        CONCLUSION

         For the foregoing reasons, plaintiffs’ motion for conditional certification of an FLSA

collective action (Dkt. No. 28) is granted as set forth herein.

         SO ORDERED.

Dated:          November 26, 2018
                Buffalo, New York

                                                       /s/ Michael J. Roemer
                                                       MICHAEL J. ROEMER
                                                       United States Magistrate Judge

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